Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 1 of 39




                   Exhibit BB
         Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 2 of 39




                                                 Before the
                                         Federal Trade Commission
                                             Washington, DC

In the Matter of                    )
                                    )
Facebook, Inc.                      )
                                    )
____________________________________)

               Complaint, Request for Investigation, Injunction, and Other Relief

                                                   I. Introduction

    1.       This complaint concerns material changes to privacy settings made by Facebook, the
             largest social network service in the United States, that adversely impact the users of
             the service. Facebook now discloses personal information to the public that Facebook
             users previously restricted. Facebook now discloses personal information to third
             parties that Facebook users previously did not make available. These changes violate
             user expectations, diminish user privacy, and contradict Facebook’s own
             representations. These business practices are Unfair and Deceptive Trade Practices,
             subject to review by the Federal Trade Commission (the “Commission”) under
             section 5 of the Federal Trade Commission Act.

    2.       The following business practices are unfair and deceptive under Section 5 of the
             Federal Trade Commission Act: Facebook disclosed users’ personal information to
             Microsoft, Yelp, and Pandora without first obtaining users’ consent; Facebook
             disclosed users’ information—including details concerning employment history,
             education, location, hometown, film preferences, music preferences, and reading
             preferences—to which users previously restricted access; and Facebook disclosed
             information to the public even when users elect to make that information available to
             friends only.”

    3.       These business practices impact more than 115 million users of the social networking
             site who fall within the jurisdiction of the United States Federal Trade Commission.1




1
 Facebook, Statistics, http://www.facebook.com/press/info.php?statistics (last visited May 5, 2010); see also Inside
Facebook, Eric Eldon, Web Measurement Firms Show Higher Facebook U.S. and World Growth for March 2010,
May 4, 2010, http://www.insidefacebook.com/2010/05/04/web-measurement-firms-show-higher-facebook-us-and-
world-growth-for-march-2010/ (last visited May 5, 2010).


COMPLAINT                                                                      In the Matter of Facebook, Inc.
May 5, 2010                                              1
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 3 of 39




  4.      The Electronic Privacy Information Center, the Bill of Rights Defense Committee,
          the Center for Digital Democracy, the Center for Financial Privacy and Human
          Rights, the Center for Media and Democracy, the Consumer Federation of America,
          the Consumer Task Force for Automotive Issues, Consumer Watchdog, the Foolproof
          Initiative, Patient Privacy Rights, Privacy Activism, Privacy Journal, the Privacy
          Rights Clearing House, the United States Bill of Rights Foundation, and U.S. PIRG
          (hereinafter “Petitioners”) urge the Commission to investigate Facebook, determine
          whether the company has in fact engaged in unfair and/or deceptive trade practices,
          require Facebook to restore privacy settings that were previously available as detailed
          below, require Facebook to give users meaningful control over personal information,
          and seek other appropriate injunctive and compensatory relief.




COMPLAINT                                                        In the Matter of Facebook, Inc.
May 5, 2010                                    2
         Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 4 of 39




                                                     II. Parties

    5.       The Electronic Privacy Information Center (“EPIC”) is a not-for-profit research
             center based in Washington, D.C. EPIC focuses on emerging privacy and civil
             liberties issues and is a leading consumer advocate before the Federal Trade
             Commission. Among its other activities, EPIC first brought the Commission’s
             attention to the privacy risks of online advertising.2 In 2004, EPIC filed a complaint
             with the FTC regarding the deceptive practices of data broker firm Choicepoint,
             calling the Commission’s attention to “data products circumvent[ing] the FCRA,
             giving businesses, private investigators, and law enforcement access to data that
             previously had been subjected to Fair Information Practices.”3 As a result of the EPIC
             complaint, the FTC fined Choicepoint $15 million.4 EPIC initiated the complaint to
             the FTC regarding Microsoft Passport.5 The Commission subsequently required
             Microsoft to implement a comprehensive information security program for Passport
             and similar services.6 EPIC also filed a complaint with the FTC regarding the
             marketing of amateur spyware,7 which resulted in the issuance of a permanent
             injunction barring sales of CyberSpy’s “stalker spyware,” over-the-counter
             surveillance technology sold for individuals to spy on other individuals.8



2
  In the Matter of DoubleClick, Complaint and Request for Injunction, Request for Investigation and for Other
Relief, before the Federal Trade Commission (Feb. 10, 2000), available at
http://epic.org/privacy/internet/ftc/DCLK_complaint.pdf.
3
  In the Matter of Choicepoint, Request for Investigation and for Other Relief, before the Federal Trade Commission
(Dec. 16, 2004), available at http://epic.org/privacy/choicepoint/fcraltr12.16.04.html.
4
  Federal Trade Commission, ChoicePoint Settles Data Security Breach Charges; to Pay $10 Million in Civil
Penalties, $5 Million for Consumer Redress, http://www.ftc.gov/opa/2006/01/choicepoint.shtm (last visited Dec. 13,
2009).
5
  In the Matter of Microsoft Corporation, Complaint and Request for Injunction, Request for Investigation and for
Other Relief, before the Federal Trade Commission (July 26, 2001), available at
http://epic.org/privacy/consumer/MS_complaint.pdf.
6
  In the Matter of Microsoft Corporation, File No. 012 3240, Docket No. C-4069 (Aug. 2002), available at
http://www.ftc.gov/os/caselist/0123240/0123240.shtm. See also Fed. Trade Comm’n, “Microsoft Settles FTC
Charges Alleging False Security and Privacy Promises” (Aug. 2002) (“The proposed consent order prohibits any
misrepresentation of information practices in connection with Passport and other similar services. It also requires
Microsoft to implement and maintain a comprehensive information security program. In addition, Microsoft must
have its security program certified as meeting or exceeding the standards in the consent order by an independent
professional every two years.”), available at http://www.ftc.gov/opa/2002/08/microst.shtm.
7
  In the Matter of Awarenesstech.com, et al., Complaint and Request for Injunction, Request for Investigation and
for Other relief, before the Federal Trade Commission, available at http://epic.org/privacy/dv/spy_software.pdf.
8
  FTC v. Cyberspy Software, No. 6:08-cv-1872 (D. Fla. Nov. 6, 2008) (unpublished order), available at
http://ftc.gov/os/caselist/0823160/081106cyberspytro.pdf.


COMPLAINT                                                                     In the Matter of Facebook, Inc.
May 5, 2010                                             3
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 5 of 39




  6.       The Bill of Rights Defense Committee (“BORDC”) is national, non-partisan, non-
           profit grassroots advocacy and mobilization network established in 2001 to defend
           civil rights, civil liberties and rule of law principles eroded by national security
           policies. The organization organizes and supports a geographically, ethnically,
           generationally, and ideologically diverse movement around the country by educating
           people about the significance of those rights in our lives; encouraging widespread
           civic participation and offering tools to facilitate it; and cultivating and sharing
           information and opportunities through which Americans from all walks of life can
           convert their concern into the action needed to restore a constitutional culture uniting
           our country around rights and values enshrined in the Bill of Rights.

  7.       The Center for Digital Democracy (“CDD”) is one of the leading non-profit groups
           analyzing and addressing the impact of digital marketing on privacy and consumer
           welfare. Based in Washington, D.C., CDD has played a key role promoting policy
           safeguards for interactive marketing and data collection, including at the FTC and
           Congress.

  8.       The Center for Financial Privacy and Human Rights (“CFPHR”),
           www.financial.privacy.org, was founded in 2005 to defend privacy, civil liberties and
           market economics. The Center is a non-profit human rights and civil liberties
           organization whose core mission recognizes traditional economic rights as a
           necessary foundation for a broad understanding of human rights. CFPHR is part of
           the Liberty and Privacy Network, a non-governmental advocacy and research
           501(c)(3) organization.

  9.       The Center for Media and Democracy is an independent, non-profit, non-partisan,
           public interest organization that focuses on investigating and countering spin by
           corporations, industry and government; informing and assisting grassroots action that
           promotes public health, economic justice, ecological sustainability, human rights, and
           democratic values; advancing transparency and media literacy to help people
           recognize the forces shaping the information they receive about important issues
           affecting their lives; and promoting “open content” media that enable people from all
           walks of life to “be the media” and help write the history of these times.

  10.      Consumer Federation of America (“CFA”) is a non-profit association of nearly 300
           non-profit consumer organizations across the United States. Founded in 1968, CFA’s
           mission is to advance consumers’ interests through research, education, and
           advocacy.

  11.      Consumer Task Force for Automotive Issues (“CTF-A”) is a non-profit organization
           founded by Ralph Nader and Remar Sutton. CTF-A monitors automotive fraud



COMPLAINT                                                          In the Matter of Facebook, Inc.
May 5, 2010                                      4
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 6 of 39




           developments for many Attorneys General, consumer groups, and consumer law
           firms.

  12.      Consumer Watchdog was established in 1985 and is a nationally recognized non-
           partisan, non-profit organization representing the interests of tax payers and
           consumers. Its mission is to provide an effective voice for the public interest.
           Consumer Watchdog’s programs include health care reform, oversight of insurance
           rates, energy policy, protecting legal rights, corporate reform, political accountability,
           and protecting consumer privacy.

  13.      The Foolproof Initiative is a national organization that teaches young people about
           consumer advocacy issues.

  14.      Patient Privacy Rights (“PPR”) is the nation’s leading health privacy watchdog
           organization. PPR works to empower individuals and prevent widespread
           discrimination based on health information using a grassroots, community organizing
           approach. PPR educates consumers, champions smart policies, and exposes and holds
           industry and the government accountable. PPR has over 10,000 members in all fifty
           states. PPR also leads the bipartisan Coalition for Patient Privacy, representing 10
           million Americans. The Coalition worked with Congress to ensure that a core of
           critical consumer security and privacy protections were enacted in the stimulus bill in
           2009.

  15.      Privacy Activism is a non-profit organization whose goal is to enable people to make
           well-informed decisions about the importance of privacy on both a personal and
           societal level. A key goal of the organization is to inform the public about the
           importance of privacy rights and the short and long-term consequences of losing them
           – either inadvertently, or by explicitly trading them away for perceived or ill-
           understood notions of security and convenience. www.privacyactivism.com

  16.      Privacy Journal is the most authoritative publication in the world on the individual’s
           right to privacy. Privacy Journal was founded in 1968 and is published by Robert
           Ellis Smith, a well-recognized expert on the right to privacy in the United States and
           author of several essential books on privacy.

  17.      The Privacy Rights Clearing House (“PRC”) is a non-profit, consumer education and
           advocacy organization based on San Diego, CA and established in 1992. It represents
           consumers’ interests regarding informational privacy at the state and federal levels.
           Its website provides numerous guides on how to protect personal information.
           www.privacyrights.org




COMPLAINT                                                           In the Matter of Facebook, Inc.
May 5, 2010                                      5
          Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 7 of 39




    18.      United States Bill of Rights Foundation is a non-partisan public interest law policy
             development and advocacy organization seeking remedies at law and public policy
             improvements on targeted issues that contravene the Bill of Rights and related
             Constitutional Law. The Foundation implements strategies to combat violations of
             individual rights and civil liberties through Congressional and legal liaisons, coalition
             building, mission development, project planning and preparation, tactical integration
             with other supporting entities, and the filings of amicus curiae briefs in litigated
             matters.

    19.      U.S. PIRG is an advocate for the public interest. When consumers are cheated, or the
             voices of ordinary citizens are drowned out by special interest lobbyists, U.S. PIRG
             speaks up and takes action. U.S.PIRG uncovers threats to public health and well-
             being and fights to end them, using the time-tested tools of investigative research,
             media exposés, grassroots organizing, advocacy and litigation. U.S. PIRG's mission is
             to deliver persistent, result-oriented public interest activism that protects our health,
             encourages a fair, sustainable economy, and fosters responsive, democratic
             government.

    20.      Facebook Inc. was founded in 2004 and is based in Palo Alto, California. Facebook’s
             headquarters are located at 156 University Avenue, Suite 300, Palo Alto, CA 94301.
             At all times material to this complaint, Facebook’s course of business, including the
             acts and practices alleged herein, has been and is in or affecting commerce, as
             “commerce” is defined in Section 4 of the Federal Trade Commission Act, 15 U.S.C.
             § 45.

                                   III. The Importance of Privacy Protection

    21.      The right of privacy is a personal and fundamental right in the United States.9 The
             privacy of an individual is directly implicated by the collection, use, and
             dissemination of personal information. The opportunities to secure employment,
             insurance, and credit, to obtain medical services and the rights of due process may be
             jeopardized by the misuse of personal information.10




9
  See Department of Justice v. Reporters Committee for Freedom of the Press, 489 U.S. 749, 763 (1989) (“both the
common law and the literal understandings of privacy encompass the individual’s control of information concerning
his or her person”); Whalen v. Roe, 429 U.S. 589, 605 (1977); United States v. Katz, 389 U.S. 347 (1967); Olmstead
v. United States, 277 U.S. 438, 478 (1928) (Brandeis, J., dissenting).
10
   Fed. Trade Comm’n, Consumer Sentinel Network Data Book 11 (2009) (charts describing how identity theft
victims’ information have been misused).


COMPLAINT                                                                     In the Matter of Facebook, Inc.
May 5, 2010                                             6
           Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 8 of 39




     22.      The excessive collection of personal data in the United States coupled with
              inadequate legal and technological protections have led to a dramatic increase in the
              crime of identity theft.11

     23.      The federal government has established policies for privacy and data collection on
              federal web sites that acknowledge particular privacy concerns “when uses of web
              technology can track the activities of users over time and across different web sites”
              and has discouraged the use of such techniques by federal agencies.12

     24.      As the Supreme Court has made clear, and the Court of Appeals for the District of
              Columbia Circuit has recently held, “both the common law and the literal
              understanding of privacy encompass the individual’s control of information
              concerning his or her person.”13

     25.      The Organization for Economic Co-operation and Development (“OECD”)
              Guidelines on the Protection of Privacy and Transborder Flows of Personal Data
              recognize that “the right of individuals to access and challenge personal data is
              generally regarded as perhaps the most important privacy protection safeguard.”

     26.      The appropriation tort recognizes the right of each person to protect the commercial
              value of that person’s name and likeness. The tort is recognized in virtually every
              state in the United States.

     27.      The Madrid Privacy Declaration of November 2009 affirms that privacy is a basic
              human right, notes that “corporations are acquiring vast amounts of personal data
              without independent oversight,” and highlights the critical role played by “Fair
              Information Practices that place obligations on those who collect and process
              personal information and gives rights to those whose personal information is
              collected.”14

     28.      According to a Pew Research Center study, most teenage social network users take
              steps to protect their profiles. Sixty-six percent of teenage social network users
11
   Id. at 5 (from 2000-2009, the number of identity theft complaints received increased from 31,140 to 313,982); see
U.S. Gen. Accounting Office, Identity Theft: Governments Have Acted to Protect Personally Identifiable
Information, but Vulnerabilities Remain 8 (2009); Fed. Trade Comm’n, Security in Numbers: SSNs and ID Theft 2
(2008).
12
   Office of Management and Budget, Memorandum for the Heads of Executive Departments and
Agencies (2000), available at http://www.whitehouse.gov/omb/memoranda_m00-13 (last visited Dec. 17, 2009).
13
   U.S. Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 763 (1989), cited in Nat’l
Cable & Tele. Assn. v. Fed. Commc’ns. Comm’n, No. 07-1312 (D.C. Cir. Feb. 13, 2009).
14
   The Madrid Privacy Declaration: Global Privacy Standards for a Global World, Nov. 3, 2009, available at
http://thepublicvoice.org/madrid-declaration/.


COMPLAINT                                                                      In the Matter of Facebook, Inc.
May 5, 2010                                              7
           Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 9 of 39




              reported that their profile is not visible to all internet users.15They limit access to their
              profiles in some way. Among those whose profiles can be accessed by anyone online,
              46% say they give at least a little and sometimes a good deal of false information on
              their profiles.16 Most adult social network users also take measures to protect their
              profile information.

     29.      According to a second Pew Research Center study, 60% of adult social network users
              restrict access to their profiles so that only their friends can see it.17 Fifty-eight
              percent of adult social network users restrict access to certain content within their
              profile.18

     30.      The Federal Trade Commission is “empowered and directed” to investigate and
              prosecute violations of Section 5 of the Federal Trade Commission Act where the
              privacy interests of Internet users are at issue.19


                                            IV. Factual Background

            A. Facebook’s Size and Reach Is Unparalleled Among Social Networking Sites

     31.      Facebook is the largest social network service provider in the United States.
              According to Facebook, there are more than 400 million active users, with more than
              100 million in the United States. More than 35 million users update their statuses at
              least once each day.20

     32.      More than 2.5 billion photos are uploaded to the site each month.21 Facebook is the
              largest photo-sharing site on the internet, by a wide margin.22

     33.      As of March 2010, Facebook is the most-visited web site in the United States.23

15
   Pew Internet and American Life Project, Teens, Privacy, and Online Social Networks,
http://www.pewinternet.org/Reports/2007/Teens-Privacy-and-Online-Social-Networks.aspx?r=1
16
   Id.
17
   Pew Internet and American Life Project, Social Networks Grow: Friending Mom and Dad, Jan. 14, 2009,
http://pewresearch.org/pubs/1079/social-networks-grow.
18
   Id.
19
   15 U.S.C. § 45 (2006).
20
   Facebook, Statistics, http://www.facebook.com/press/info.php?statistics (last visited Dec. 14, 2009).
21
   Id.
22
   Erick Schonfeld, Facebook Photos Pulls Away From the Pack, TechCrunch (Feb. 22, 2009),
http://www.techcrunch.com/2009/02/22/facebook-photos-pulls-away-from-the-pack/.
23
   Julianne Pepitone, Facebook Traffic Tops Google for the Week, Money.cnn.com, March 16, 2010,
http://money.cnn.com/2010/03/16/technology/facebook_most_visited/index.htm


COMPLAINT                                                                   In the Matter of Facebook, Inc.
May 5, 2010                                            8
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 10 of 39




  34.      Faceboook’s business practices directly impact more American consumers than any
           other social network service in the United States.


                B. Facebook’s has Made User Information “Publicly Available”
                               in Violation of its Privacy Policy

        I. Facebook Coverted Facebook Users’ Private Information into “Publicly
               Available” Information

  35.      During the week of April 18, 2010, Facebook made material changes to the way that
           a user’s personal profile information is classified and disclosed.

  36.      As a result of these material changes, Facebook requires users to designate personal
           information as publically linkable “Links,” “Pages,” or “Connections” or to no longer
           make such information available.

  37.      Many Facebook users previously restricted access to this profile data, which includes
           users’ friends list, music preferences, affiliated organizations, employment
           information, educational institutions, film preferences, reading preferences, and other
           information.

  38.      Facebook required users to make these disclosures in several different ways.




COMPLAINT                                                          In the Matter of Facebook, Inc.
May 5, 2010                                     9
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 11 of 39




  39.   Facebook presented some users with a pop-up screen that informed the user that she
        could “link” her profile to pages that Facebook had selected for her. These pages
        were selected by Facebook based on existing content in the user’s profile, including
        employer information, education information, and geographic information, as well as
        music, movie, book, and television preferences.




  40.   Facebook required users to either “Link All” selected pages to the user’s profile, to
        choose pages individually, or to click “Ask Me Later.”

  41.   If the user selected “Link All” or chose pages individually, the selected pages were
        added to the user’s profile.

  42.   If the user chose “Ask Me Later,” she was allowed to continue to the page to which
        she was originally navigating.




COMPLAINT                                                       In the Matter of Facebook, Inc.
May 5, 2010                                  10
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 12 of 39




  43.   If the user chose “Ask Me Later,” the pop-up resurfaced later, this time without the
        “Ask Me Later” option. This forced the user to select “Link All to My Profile” or
        “Choose Individually.”




  44.   If the user clicked “Choose Individually,” she was taken to a page with a series of
        pre-checked boxes.




COMPLAINT                                                      In the Matter of Facebook, Inc.
May 5, 2010                                 11
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 13 of 39




  45.   If the user unchecked all of the boxes in an attempt to opt-out of the compelled
        disclosure of her profile information, another pop-up window appeared to inform the
        user that if no information is designated as “publically available,” then major sections
        of the user’s profile that were previously available on the user’s Facebook page will
        be deleted and left empty.

  46.   As a result of a material changes in its business practice, Facebook no longer permits
        users to provide “pure text” entries into fields for work and education, current city,
        hometown, and likes and interests. All entries into these fields must be “linked.”




  47.   Facebook required users to select either “Resume Editing” or “Remove.” Resume
        editing would take the user back to the checked-boxes and offered the user the
        opportunity to re-check boxes of his choice.




COMPLAINT                                                       In the Matter of Facebook, Inc.
May 5, 2010                                  12
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 14 of 39




     48. If the user chose “Remove,” Facebook deleted key pieces of information from the user’s
              profile, such as employment, education, and entertainment preferences, but left the
              user with a constant reminder that links can be added.




     49.    Other users were not presented a pop-up window. Instead, Facebook embedded the
            link announcement in their profile. If the user clicked on “View Page Suggestions”
            she was taken to the checkbox screen described above – once again, with all links
            checked by default.




     50.    Facebook sometimes designates this linkage as a “connection” and other times as a
            “page.” Facebook has designated both connections and pages as publicly viewable
            information that is no longer protected by users’ privacy settings.24

     51.    In the terms under which most Facebook users signed up for the service, employment
            and educational information and music, film, book, and television preferences were
            not originally required to be “publicly available” information.25

     52.     After the material changes made by Facebook, a user is now forced to “link” or
            “connect” personal profile items that were previous protected under the Facebook
24
  Facebook, Privacy Policy, www.facebook.com/policy.php (last visited Apr. 27, 2010).
25
  Facebook, Privacy Policy, http://web.archive.org/web/20080719134042/http://www.facebook.com/policy.php
(dated Dec. 6, 2007).


COMPLAINT                                                                In the Matter of Facebook, Inc.
May 5, 2010                                         13
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 15 of 39




            privacy policy. As a consequence, these items become viewable by everyone. This is
            because Facebook made these pages “public” that “can be accessed by
            applications.”26




     53.    Facebook states that “if you don’t link to any pages, these sections on your profile
            will be empty. By linking your profile to pages, you will be making these connections
            public.”




     54.    Facebook states that now websites and applications will have access to “publicly
            available information. This includes your Name, Profile Picture, Gender, Current
            City, Networks, Friend List, and Pages.”27




26
  http://www.facebook.com/settings/?tab=privacy&ref=mb#!/settings/?tab=privacy&section=profile_display
27
 http://www.facebook.com/ginger.mccall?ref=profile&v=info#!/settings/?tab=privacy&section=applications
&field=learn


COMPLAINT                                                                 In the Matter of Facebook, Inc.
May 5, 2010                                          14
         Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 16 of 39




       55.      Thus, Facebook has designated as made “publicly available” information that had
                previously been protectable under users’ privacy settings. This includes information
                about users’ hometown, education, work, activities, likes and interests, and, in some
                cases, likes and recommendations from non-Facebook pages around the web.

             II. Facebook’s Privacy Policy is Misleading and Inconsistent with the Site’s
                     Representations

       56.      Facebook’s privacy settings and privacy policy are inconsistent with the site’s
                information sharing practices, and Facebook misleads users into believing that users
                can still maintain control over their personal information.

       57.      Facebook’s current privacy settings allow users to adjust who can see their
                information, including “Things I Like,” “Education and Work,” “Friends,” “Current
                City,” “Hometown.”

       58.      However, adjustments that users make to their privacy settings only affect what
                others can see when they navigate to that user’s profile page. Facebook obscures the
                information on the user’s profile, but discloses it elsewhere – for instance, on friends’
                pages, community pages, and to third party websites (including Facebook’s
                connection partners).28

       59.      Facebook discloses information that users designate as available to “Friends Only” to
                third party websites and applications, as well as other Facebook users, and outsiders
                who happen upon Facebook Pages or Community Pages.

       60.      Facebook now designates name, profile picture, gender, current city, hometown,
                friend list, and pages (including employment and educational information; music,
                film, television, and book preferences, and current city) as “publicly available”
                information.

       61.      Facebook converted some of these categories, including friends list and fan pages, to
                “publicly available information” after its last round of privacy changes in late 2009.

       62.      With these most recent changes, Facebook has made new categories of user
                information, including links, connections, and pages, “publicly available.”

       63.      Facebook’s changes require users to put most of their information, including
                education and employment information; music, film, television, and reading

28
     http://www.facebook.com/ginger.mccall?ref=profile&v=info#!/settings/?tab=privacy&section=profile_display


COMPLAINT                                                                    In the Matter of Facebook, Inc.
May 5, 2010                                             15
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 17 of 39




            preferences; and current city, in these “publicly available” categories. Even if a user
            changes her privacy settings to limit public access to this information, Facebook still
            discloses the information in places other than the user’s profile.

     64.    The privacy settings are designed to confuse users and to frustrate attempts to limit
            the public disclosure of personal information that many Facebook users choose to
            share only with family and friends.

            C. “Instant Personalization:” Facebook Discloses the Personal Information
                               of Facebook Users without Consent

                I. Social Plugins Violate User Expectations and Reveal User Information
                Without the User’s Consent

     65.    “Social plugins” are buttons or boxes that appear on third party websites that prompt
            a Facebook user to click on or comment on items of interest. For example, is a user
            chooses to "Like" a news article by clicking on a "Like" button, this action is
            displayed on the third party website, disclosed to the user's friends and appears on the
            user's Facebook profile.29

     66.    Facebook’s Social Plugins may reveal users’ personal data to third party websites
            without clearly indicating to users when their personal information is being given to
            third party websites.30

     67.    Facebook’s Social Plugins include the “like” and “recommend” buttons, activity feed,
            and recommendations.31

     68.    Facebook represents to users that, “None of your information – your name or profile
            information, what you like, who your friends are, what they have liked, what they
            recommend – is shared with the sites you visit with a plugin.” (emphasis added)32

     69.    However, Facebook permits third party websites that have enabled Facebook’s “open
            graph” to access user information once that user clicks on a Social Plugin application
            such as the “like” button or “recommend” button. According to Facebook, “When a
            user establishes this connection by clicking Like on one of your Open Graph –

29
   Facebook, Help Center, http://www.facebook.com/help/?page=1068 (last visited May 5, 2010).
30
   Id.
31
   Posting of Austin Haugen to The Facebook Blog, Answers to Your Questions on Personalized Web Tools,
http://blog.facebook.com/blog.php?post=384733792130 (Apr. 26, 2010, 11:17 EST).
32
   Posting of Austin Haugen to The Facebook Blog, Answers to Your Questions on Personalized Web Tools,
http://blog.facebook.com/blog.php?post=384733792130 (Apr. 26, 2010, 11:17 EST).


COMPLAINT                                                                  In the Matter of Facebook, Inc.
May 5, 2010                                          16
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 18 of 39




              enabled pages, you gain the lasting capabilities of Facebook Pages: a link from the
              user’s profile, ability to push the user’s News Feed, inclusion in search on Facebook,
              and analytics through our revamped Insights product.”33

     70.      Facebook represents to users that the Like and Recommend “buttons enable you to
              publicly express your interest in some piece of content with a simple action.”
              Facebook further states that by clicking on a Like or Recommend button, a user is
              “making a public connection to it.” (emphasis added)34

     71.      Facebook informs users that no information is published if they do not interact (e.g.
              clicking a Like button) with Social Plugins, and if users do interact with social
              plugins, Facebook states what information is shared with their friends.35 However,
              Facebook fails to tell users what information is disclosed to websites if users interact
              with social plugins.

     72.      Although a user is able to control who can see the Connections he makes on his
              Facebook user profile, Facebook warns users, “Remember that even if you limit the
              visibility of a connection, it remains as public information and may appear in other
              places on Facebook.com or be accessed by applications and websites.”36

     73.      If a user decides to delete a Social Plugin action, such as liking or recommending a
              news article, the information will be removed from a user’s profile, but will remain
              visible on third party websites.37

           II. Instant Personalization Violates User Expectations and Reveals User Information
           Without the User’s Consent

     74.      Facebook’s “Instant Personalization” discloses users’ personal information to third
              party web sites and applications without the users’ knowledge or consent.38

     75.      If a user’s friend connects with an application or website using Facebook’s Instant
              Personalization, that website will be able to access the user’s name, profile picture,

33
   Posting of Ethan Beard to Facebook Developers Blog, A New Data Model, http://developers.facebook.com/blog/
(Apr. 21, 2010, 16:45 EST).
34
   Facebook, Help Center, http://www.facebook.com/help/?faq=17219 (last visited Apr. 28, 2010).
35
   Facebook, Help Center, Social plugins and instant personalization, http://www.facebook.com/help/?page=1068
(last visited Apr. 28, 2010).
36
   Posting of Austin Haugen to The Facebook Blog, Answers to Your Questions on Personalized Web Tools,
http://blog.facebook.com/blog.php?post=384733792130 (Apr. 26, 2010, 11:17 EST).
37
   Facebook, Privacy Policy, http://www.facebook.com/policy.php (last visited Apr. 26, 2010).
38
   Id.


COMPLAINT                                                                  In the Matter of Facebook, Inc.
May 5, 2010                                           17
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 19 of 39




             gender, user ID, any connections the user has made, and information the user has
             shared “everyone.”39

     76.     Facebook claims to provide a user with the ability to opt-out, remove pre-approved
             websites and applications a user has visited, or block pre-approved websites and
             applications from getting a user’s General Information when visited.40

     77.     However, prior to April 23, 2010, Facebook automatically set a user’s privacy setting
             for Instant Personalization as “allow,” making it the default, and a user had to
             deselect this option.




     78.     Facebook’s Help Center section reveals that user information is, by default and
             without user permission, shared with third party sites.41

     79.     If users disable Instant Personalization, Facebook says that the third parties delete the
             information that Facebook disclosed.




39
   Id.
40
   Id.
41
   Facebook, Help Center, Social Plugins and Instant Personalization: How do I opt-out of the instant
personalization pilot program, http://www.facebook.com/help/?page=1068 (last visited May 4, 2010).


COMPLAINT                                                                     In the Matter of Facebook, Inc.
May 5, 2010                                             18
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 20 of 39




  80.   Even if a user decides not to allow Instant Personalization, the user’s information will
        be disclosed to third party websites through the user’s friends who have not disabled
        Instant Personalization.




  81.   After April 23, 2010, Facebook changed the privacy setting for Instant
        Personalization. A user is now required to check an “allow” box. However, even if a
        user disables Instant Personalization, Facebook will still disclose this information to
        third party websites through friends who have not disabled the service.




COMPLAINT                                                       In the Matter of Facebook, Inc.
May 5, 2010                                  19
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 21 of 39




  82.    Facebook conceals users’ ability to fully disable Instant Personalization. A user is
        required to go to each individual Facebook Page and click “Block Application” for
        each Facebook pre-approved website and application before the user’s information is
        protected from distribution to third party websites.




COMPLAINT                                                      In the Matter of Facebook, Inc.
May 5, 2010                                 20
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 22 of 39




     83.     Alternatively, Facebook users may go to each individual Facebook pre-approved
             website or application and select “No Thanks” on the blue Facebook banner that pops
             down when users visit Instant Personalization websites.




     84.     Facebook currently discloses users’ data via Instant Personalization to yelp.com,
             docs.com, and pandora.com.42

     85.     Facebook has so effectively concealed the process of disabling Instant Personalization
             that many outside articles have been devoted to guiding users through the process.43

     86.     Facebook’s success at concealing the users’ option to disable Instant Personalization
             is evidenced by the fact that many of these outside articles fail to mention the
             necessity of blocking applications separately.44

           D. Facebook’s Material Changes Limit a Users’ Ability to Browse the Internet
                                          Anonymously

     87.     As Facebook seeks to integrate its social network service with third party web sites,
             Facebook users are no longer able to browse the Internet with relative anonymity.

     88.      Upon registration, Facebook requires its users to provide their real names, gender,
             email and birthdates and users are not allowed to provide false personal information
             and still use Facebook according to the company and its terms of service.45

     89.     Facebook uses cookies to track its users. Thus, whenever a user is logged-in to
             Facebook and surfing the Internet, he is also transmitting information about which



42
   Facebook, Help Center, Is there a complete list of which websites are enabled for instant personalization?,
http://www.facebook.com/help/?faq=17103 (last visited Apr. 26, 2010).
43
   See e.g., Inventor Spot, Ron Callari, Opting-Out of Facebook’s Instant Personalization,
http://inventorspot.com/articles/opting_out_facebooks_instant_personalization_101_41179
44
   See e.g.,Helium, Alicia M. Prater, How to Opt-Out of Facebook’s Instant Personalization,
http://www.helium.com/items/1814046-opt-out-of-facebook-instant-personalization.
45
   Facebook, Privacy Policy, http://www.facebook.com/policy.php (last visited Apr. 26, 2010); Facebook, Statement
of Rights and Responsibilities, http://www.facebook.com/terms.php (last visited Apr. 26. 2010).


COMPLAINT                                                                    In the Matter of Facebook, Inc.
May 5, 2010                                            21
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 23 of 39




            websites he’s visited to Facebook. A user does not have to click on or interact with a
            social plugin for his information trail to be transmitted to Facebook.46

     90.    At Facebook’s f8 Conference on April 21, 2010, Facebook ’s head of Platform
            Products, Brett Taylor, stated, “We have the user’s cookie. We know who the user
            is.”47

     91.    Facebook’s use of cookies is not transparent, and many users are unaware that
            Facebook is able to track their website viewing practices.

               E. Facebook Now Allows Developers to Retain User Data Indefinitely

     92.    Facebook had previously established a 24-hour data retention time limit for
            developers that limited the amount of time developers could store/cache user data.48

     93.    Facebook has announced that this limit no longer exists.49

     94.    This allows developers to store user data indefinitely, and is contrary to the terms
            under which most users agreed to use Facebook.


                  F. Experts Opposed the Changes to Facebook’s Privacy Settings

     95.    Danny Sullivan, editor-in-chief of Search Engine Land, a blog that covers news and
            information about search engines and search engine marketing, wrote of the recent
            changes to the Facebook privacy settings:

                Your product should speak clearly for itself. I shouldn’t have to dive into
                complicated settings that give the fiction of privacy control but don’t, since
                they’re so hard to understand that they’re ignored. I shouldn’t need a
                flowchart to understand what friends of friends of friends can share with
                others. Things should be naturally clear and easy for me.50

     96.    Robert Konigsberg, a software engineer at Google, wrote:
46
    Id.; see also Ryan Singel, Today Facebook, Tomorrow the World, Epicenter, Wired (Apr. 23, 2010)
http://www.wired.com/epicenter/2010/04/facebook-becomes-web/comment-page-1.
47
   , Brett Taylor, Head of Facebook Platform Products, Keynote Address at f8 Conference (Apr. 21, 2010)
http://apps.facebook.com/feightlive/ at 18:38.
48
    Posting by Ethan Beard, supra note 44.
49
    Id.
50
    Danny Sullivan, Dear Facebook & Google: We Are Not Your Pawns – Enough With The Auto Opt-In!, Daggle
(Apr. 23, 2010) http://daggle.com/dear-facebook-google-pawns-optin-1796.


COMPLAINT                                                                In the Matter of Facebook, Inc.
May 5, 2010                                         22
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 24 of 39




                 Yep! I deactivated my Facebook account today. When Facebook puts me back
                 in control of my data I’ll happily return. I’m giving up an easy
                 communications mechanism with my friends, including the one who
                 announced his baby’s birth on Facebook, and nowhere else. And I’m walking
                 away. My employer (Google) can’t get me to do that. But careless treatment
                 of my personal thoughts and opinions can.51

     97.     Daniel Kusnetzky, a member of the senior management team at The 451 Group
             stated:

                 Facebook constantly is changing the privacy rules and I’m forced to hack
                 through the jungle of their well-hidden privacy controls to prune out new
                 types of permissions Facebook recently added. I have no idea how much of
                 my personal information was released before I learned of a new angle the
                 company has developed to give my information to others.52

     98.     Blake Sabatinelli, online editor/producer for ABC news, reported on Instant
             Personalization and how it works, stating:

                 It could also be a huge step back in privacy, since “Instant Personalization” is
                 turned on automatically by default. That means instead of giving you the
                 option to “opt-in” and give your permission for this to happen, Facebook is
                 making you “opt-out,” essentially using your information how they see fit
                 unless you make the extra effort to turn that feature off.53

     99.     Dan Costa, Executive Editor (Reviews) for PCMag Digital Network, wrote:

                 Facebook will say that all of this is opt-in, and it is. Hell, no one is making
                 you use Facebook at all…yet. But the truth is no one really understands their
                 own privacy settings now. When Facebook changed its settings six months
                 ago, 65 percent of users chose to keep their profiles public. Or, more likely,




51
   Robert Konigsberg, My issues with Facebook privacy, Blatherberg (Apr. 25, 2010)
http://konigsberg.blogspot.com/2010/04/my-issues-with-facebook-privacy.html.
52
   Daniel Kusnetzky, Facebook means not being able to control privacy settings, Virtually Speaking, ZDNet (Apr.
23, 2010) http://blogs.zdnet.com/virtualization/?p=1885.
53
   Blake Sabatinelli, Facebook’s ‘Instant Personalization’ sparks new round of privacy fears, ABC Action News,
Apr. 23, 2010, http://www.abcactionnews.com/content/news/local/story/how-to-turn-off-facebook-instant-
personalization/Oht2YwnnYUqR3Jq8PMwQbw.cspx.


COMPLAINT                                                                    In the Matter of Facebook, Inc.
May 5, 2010                                            23
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 25 of 39




                 they just thought they should click “yes” to everything. We have all done it,
                 and that choice will now follow us around the Web—forever.54

     100.   Following the change in Facebook’s 24-hour user retention data policy, blogger Sarah
            Perez wrote a post detaining “How to Delete Facebook Applications (and Why You
            Should). She highlights that with millions of users, if a popular application’s
            “database was targeted for attack, the payload for hackers could be incredible.”55

     101.   In a blog post responding to the recent Facebook changes, Molly Wood of CNet
            wrote:

                 But since Facebook insists on opting me in to these features without my
                 permission, and on opting in all of my friends, and on letting my friends share
                 nearly everything about me by default on the sites and applications they use
                 most (on top of everything they want me to share), it’s pretty obvious that user
                 desires are low on Facebook’s priority list. What’s high on its list is creating a
                 massive data set that can be sliced, diced, and monetized until the cows come
                 home.56

     102.   Christian Science Monitor writer Matthew Shaer reported on Facebook’s social plug-
            ins, and elicited comments from Facebook users asking whether they were onboard
            with the changes or opposed to them.57 Of the more than 40 comments received, most
            expressed frustration, anger and opposition. One user wrote:

                 The fact that I was “opted in” is really my problem. I do not like going to Yelp
                 and seeing what my friends have been yelping. While my yelp/pandora use is
                 pretty tame, I still don’t want it going past *MY* computer screen. More to
                 the point, it has gotten to the point where using facebook has felt like a job. I
                 plan on deleting my account as soon as I am done writing this.”58




54
   Dan Costa, Facebook: Privacy Enemy Number One?, PCMag.com, Apr. 22, 2010,
http://www.pcmag.com/article2/0,2817,2362967,00.asp?kc=PCRSS03079TX1K0000585.
55
   Sarah Perez, How to Delete Facebook Applications (and Why You Should), ReadWriteWeb (Apr. 22, 2010)
http://www.readwriteweb.com/archives/how_to_delete_facebook_applications_and_why_you_should.php.
56
   Molly Wood, How Facebook is putting its users last, CNet (Apr. 23, 2010) http://news.cnet.com/8301-31322_3-
20003185-256.html.
57
   Matthew Shaer, How long before Facebook users revolt against the latest update?, The Christian Science
Monitor, April 23, 2010, available at http://www.csmonitor.com/Innovation/Horizons/2010/0423/How-long-before-
Facebook-users-revolt-against-the-latest-update.
58
   Id.


COMPLAINT                                                                  In the Matter of Facebook, Inc.
May 5, 2010                                          24
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 26 of 39




     103.   Another user wrote, “Nothing about this site is private any longer no matter what
            settings you choose. I deleted all content, unliked everything I could find as far back
            as I could and deactivated my account. I am not for sale.”59

     104.    Christina Warren of Mashable.com, a social media news blog, warned Facebook
            users to “Be aware of your privacy settings. She pointed out that with Facebook’s
            changes, privacy has become the user’s responsibility, stating:

                Public no longer means “public on Facebook,” it means “public in the
                Facebook ecosystem.” Some companies, like Pandora, are going to go to great
                lengths to allow users to separate or opt out of linking their Pandora and
                Facebook accounts together, but users can’t expect all apps and sites to take
                that approach. My advice to you: Be aware of your privacy settings.”60

     105.   Commenting on Facebook’s changes, Maurice Cacho of MSN Tech & Gadgets,
            wrote:

                But this is just another example how there is no real privacy on the web. The
                latest chapter added to Facebook’s growth is just exposing another cloak of
                privacy before it’s picked away at the edges and stripped off your forehead,
                exposing your inner thoughts to the world as the Internet becomes more of a
                global playground.61

     106.   Irene North of the Daily Censored, wrote:

                Facebook has become Big Brother. Facebook has succeeded in giving its users
                the allusion of privacy on a public site, leaving everyone to become
                complacent about keeping track of the myriad changes going on behind the
                scenes. The constant changes assure Facebook that you can never keep all
                your information private.62

     107.   It is clear that Facebook has not made it easy for users to opt out of Instant
            Personalization or informed users about how social plugins work and how user data is
            disseminated to third party websites because numerous news outlets and bloggers

59
   Id.
60
   Christina Warren, Facebook Open Graph: What it Means for Privacy, Mashable (Apr. 21, 2010)
http://mashable.com/2010/04/21/open-graph-privacy/.
61
   Maurice Cacho, Toss out your privacy as Facebook becomes more stalker-ish, MSN Tech & Gadgets (Apr. 21,
2010) http://www.geektown.ca/2010/04/toss-out-your-privacy-as-facebook-becomes-more-stalkerish.html.
62
   Irene North, People concerned over more Facebook privacy changes, The Daily Censored (Apr. 26, 2010)
http://dailycensored.com/2010/04/26/people-concerned-over-more-facebook-privacy-changes/.


COMPLAINT                                                                 In the Matter of Facebook, Inc.
May 5, 2010                                          25
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 27 of 39




            have expressed frustration and concern and found it necessary to write guides to help
            users to become better informed.63

     108.   After receiving “many questions” from Facebook users about social plugins and
            Instant Personalization, Facebook product manager Austin Haugen posted an entry on
            The Facebook Blog entitled, “Answers to Your Questions on Personalized Web
            Tools,” on April 26, 2010.64

             G. Facebook Users Oppose the Facebook Changes to the Privacy Settings

     109.   Facebook users oppose these changes. Several new Facebook groups have sprung up
            in the wake of the changes, and older privacy themed groups have also expressed
            opposition.

     110.   More than 840 users are members of a group called “Make Instant Personalization
            Opt-In,” which states “Facebook just rolled out another scheme for sharing personal
            information about its users with external web sites on an opt-out basis. Even worse,
            opting out doesn't even prevent that information being shared, should your friends
            feel like doing so (will they even know they are?), unless you block each application
            separately.”65

     111.   More than 2,278,100 users are members of a group called, “Millions Against
            Facebook’s Privacy Policies and Layout Redesign.” The group keeps users up to date




63
   Kristin Burnham, Facebook Privacy Changes: 5 Can’t-Miss Facts, CIO, Apr. 23, 2010, available at
http://www.cio.com/article/591831/Facebook_Privacy_Changes_5_Can_t_Miss_Facts; Gina Trapani, Time to Audit
Your Facebook Privacy Settings, Here’s How, Fast Company Magazine, Apr. 23, 2010, available at
http://www.fastcompany.com/1624745/time-to-audit-your-facebook-privacy-settings; Mathew Ingram, Your Mom’s
Guide to Those Facebook Changes, and How to Block Them, Gigaom (Apr. 22, 2010),
http://gigaom.com/2010/04/22/your-moms-guide-to-those-facebook-changes-and-how-to-block-them/; Kurt Opshal,
How to Opt Out of Facebook’s Instant Personalization, Deeplinks Blog, (Apr. 22, 2010),
http://w2.eff.org/deeplinks/2010/04/how-opt-out-facebook-s-instant-personalization/; Rob Pegoraro, As Facebook
users fret over its wider reach, Post readies opt-out, Faster Forward, The Washington Post (Apr. 23, 2010),
http://voices.washingtonpost.com/fasterforward/2010/04/facebook_users_fret_over_its_w.html; Riva Richmond,
How to Opt Out of Facebook’s Instant Personalization, Gadgetwise Blog, The New York Times (Apr. 23, 2010),
http://gadgetwise.blogs.nytimes.com/2010/04/23/how-to-opt-out-of-facebooks-instant-personalization/.
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   Posting of Austin Haugen to The Facebook Blog, Answers to Your Questions on Personalized Web Tools,
http://blog.facebook.com/blog.php?post=384733792130 (Apr. 26, 2010, 11:17 EST).
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   Facebook, Make Instant Personalization Opt-In,
http://www.facebook.com/group.php?gid=115708625123121&v=info (last visited May 3, 2010).


COMPLAINT                                                                  In the Matter of Facebook, Inc.
May 5, 2010                                          26
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 28 of 39




            on Facebook’s frequent privacy policy changes and attempts to inform users on how
            to protect their personal information.66

     112.   More than 950 users “Like” a page called, “I hate the new facebook privacy settings,”
            informing users that “Facebook just changed the privacy options and it’s pretty
            annoying because now almost everything is visible to people we don’t know…so
            LIKE if you agree with me.”67

     113.   Over 1,205 users “Like” a group called “Our privacy matters right here!,” protesting
            against the new privacy settings and the lack of user control over personal
            information.68

     114.   More than 3,470 users are members of a group called, “Facebook! Fix the Privacy
            Settings,” which exhorts users to “Tell Facebook that our personal information is
            private, and we want to control it!”69

     115.   MoveOn.org, a family of organizations including a non-profit and a federal PAC,
            began circulating a petition against Facebook stating, “Facebook must respect my
            privacy. They should not tell my friends what I buy on other sites – or let companies
            use my name to endorse their products – without my permission.”70

     116.   MoveOn.org also hosts a Facebook group called, “Petition: Facebook, stop invading
            my privacy!” with over 72,685 members demanding that their privacy be respected.71

     117.   A Facebook blog post discussing the changes to Facebook’s Privacy Policy and
            Statement of Rights and Responsibilities elicited numerous comments from users,
            most of them critical of the changes. One commenter noted, “DISLIKE! Completely
            horrified and disgusted by your recent changes, and the way you make it a giant pain



66
   Facebook, Millions Against Facebook’s Privacy Policies and Layout Redesign,
http://www.facebook.com/group.php?gid=27233634858&v=info (last visited May 3 2010).
67
   Facebook, I hate the new facebook privacy settings, http://www.facebook.com/pages/I-hate-the-new-facebook-
privacy-settings/246372636176 (last visited May 3, 2010).
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   Facebook, Our privacy matters right here!, http://www.facebook.com/ourprivacymatters (last visited May 3,
2010).
69
   Facebook, Facebook! Fix the Privacy Settings, http://www.facebook.com/group.php?gid=192282128398 (last
visited May 3, 2010).
70
   MoveOn.org, Facebook must respect privacy, http://civ.moveon.org/facebookprivacy/071120email.html (last
visited Apr. 29, 2010).
71
   Facebook, Petition: Facebook, stop invading my privacy!, http://www.facebook.com/group.php?gid=5930262681
(last visited May 3, 2010).


COMPLAINT                                                                 In the Matter of Facebook, Inc.
May 5, 2010                                          27
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 29 of 39




             to opt out of your stupid data-mining/marketing project.”72 Another commented,
             “HATE that you guys link my profile to everyone WITHOUT my say so. I was
             STALKED in 1998 and try to keep a low profile by locking out everyone except my
             friends.”73

     118.    The Electronic Frontier Foundation posted commentary online giving Facebook users
             a step-by-step on how to opt-out of Facebook’s Instant Personalization.74

     119.    In response to Facebook’s recent changes, Senators Charles Schumer, Michael
             Bennet, Mark Begich and Al Fraken have asked the FTC to design privacy rules for
             social networking sites like Facebook, MySpace and Twitter, including guidelines for
             how user information is used and disseminated.75

     120.    A survey conducted by Sophos, an IT security company, showed that 95% of the 680
             Facebook users polled opposed the privacy changes Facebook proposed in March
             2010 to allow for social plug-ins and Instant Personalization.76

     H. Facebook Has a History of Changing Its Service in Ways that Harm Users’ Privacy

     121.    In September 2006, Facebook disclosed users’ personal information, including details
             relating to their marital and dating status, without their knowledge or consent through
             its “News Feed” program.77 Hundreds of thousands of users objected to Facebook’s
             actions.78 In response, Facebook stated:



72
   Facebook Site Governance, http://www.facebook.com/fbsitegovernance?v=wall&story_fbid=120701477944064
(Apr. 25, 2010, 17:57 EST).
73
   Id.
74
   Kurt Opsahl, How to Opt Out of Facebook’s Instant Personalization, Deeplink Blog (Apr. 22, 2010),
http://w2.eff.org/deeplinks/2010/04/how-opt-out-facebook-s-instant-personalization/.
75
   Press Release, Senator Charles E. Schumer, Schumer: Decision by Facebook to Share Users’ Private Information
with Third-Party Websites Raises Major Privacy Concerns; Calls on FTC to Put in Place Guidelines for Use of
Private Information and Prohibit Access Without User Permission (Apr. 26, 2010)
http://schumer.senate.gov/record.cfm?id=324175&. See also, Michael Liedtke, Senators see privacy problem in
Faccebook expansion, The Sydney Morning Herald, Apr. 27, 2010, available at http://news.smh.com.au/breaking-
news-technology/senators-see-privacy-problem-in-facebook-expansion-20100427-tprc.html.
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   Sophos, 95% of Facebook users oppose privacy policy changes, Sophos poll reveals (Apr. 7, 2010),
http://www.sophos.com/pressoffice/news/articles/2010/04/facebook-poll.html.
77
   See generally EPIC, Facebook Privacy, http://epic.org/privacy/facebook/ (last visited Dec. 15, 2009).
78
   Justin Smith, Scared students protest Facebook’s social dashboard, grappling with rules of attention economy,
Inside Facebook (Sept. 6, 2006), http://www.insidefacebook.com/2006/09/06/scared-students-protest-facebooks-
social-dashboard-grappling-with-rules-of-attention-economy/.


COMPLAINT                                                                    In the Matter of Facebook, Inc.
May 5, 2010                                            28
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 30 of 39




                 We really messed this one up. When we launched News Feed and Mini-Feed
                 we were trying to provide you with a stream of information about your social
                 world. Instead, we did a bad job of explaining what the new features were and
                 an even worse job of giving you control of them.79

     122.    In 2007, Facebook disclosed users’ personal information, including their online
             purchases and video rentals, without their knowledge or consent through its “Beacon”
             program. 80

     123.    Facebook is a defendant in multiple federal lawsuits81 arising from the “Beacon”
             program.82 In the lawsuits, users allege violations of federal and state law, including
             the Video Privacy Protection Act, the Electronic Communications Privacy Act, the
             Computer Fraud and Abuse Act, and California’s Computer Crime Law.83

     124.    On May 30, 2008, the Canadian Internet Policy and Public Interest Clinic filed a
             complaint with Privacy Commissioner of Canada concerning the “unnecessary and
             non-consensual collection and use of personal information by Facebook.”84

     125.    On July 16, 2009, the Privacy Commissioner’s Office found Facebook “in
             contravention” of Canada’s Personal Information Protection and Electronic
             Documents Act.85

     126.    On February 4, 2009, Facebook revised its Terms of Service, asserting broad,
             permanent, and retroactive rights to users’ personal information—even after they


79
   Mark Zuckerberg, An Open Letter from Mark Zuckerberg (Sept. 8, 2006),
http://blog.facebook.com/blog.php?post=2208562130.
80
   See generally EPIC, Facebook Privacy, http://epic.org/privacy/facebook/ (last visited Dec. 15, 2009).
81
   In Lane v. Facebook, Inc., No. 5:08-CV-03845 (N.D. Cal. filed Aug. 12, 2008), Facebook has requested court
approval of a class action settlement that would terminate users’ claims, but provide no monetary compensation to
users. The court has not ruled on the matter.
82
   See e.g., Harris v. Facebook, Inc., No. 09-01912 (N.D. Tex. filed Oct. 9, 2009); Lane v. Facebook, Inc., No. 5:08-
CV-03845 (N.D. Cal. filed Aug. 12, 2008); see also Harris v. Blockbuster, No. 09-217 (N.D. Tex. filed Feb. 3,
2009), appeal docketed, No. 09-10420 (5th Cir. Apr. 29, 2009).
83
   Id.
84
   Letter from Philippa Lawson, Director, Canadian Internet Policy and Public Interest Clinic to Jennifer Stoddart,
Privacy Commissioner of Canada (May 30, 2008), available at
http://www.cippic.ca/uploads/CIPPICFacebookComplaint_29May08.pdf.
85
   Elizabeth Denham, Assistant Privacy Commissioner of Canada, Report of Findings into the Complaint Filed by
the Canadian Internet Policy and Public Interest Clinic (CIPPIC) against Facebook Inc. Under the Personal
Information Protection and Electronic Documents Act, July 16, 2009, available at http://priv.gc.ca/cf-
dc/2009/2009_008_0716_e.pdf.


COMPLAINT                                                                      In the Matter of Facebook, Inc.
May 5, 2010                                              29
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 31 of 39




            deleted their accounts.86 Facebook stated that it could make public a user’s “name,
            likeness and image for any purpose, including commercial or advertising.”87 Users
            objected to Facebook’s actions, and Facebook reversed the revisions on the eve of an
            EPIC complaint to the Commission.88

     127.   Facebook updated its privacy policy and changed the privacy settings available to
            users on November 19, 2009 and again on December 9, 2009.89

     128.   Facebook made the following categories of personal data “publicly available
            information:”

                     •   users’ names,
                     •   profile photos,
                     •   lists of friends,
                     •   pages they are fans of,
                     •   gender,
                     •   geographic regions, and
                     •   networks to which they belong.90

     129.   Facebook discloses “publicly available information” to search engines, to Internet
            users whether or not they use Facebook, and others. According to Facebook, such
            information can be accessed by “every application and website, including those you
            have not connected with . . . .”91

     130.   Prior to these changes, only the following items were mandatorily “publicly available
            information:”

                     •   a user’s name and
                     •   a user’s network.




86
   Chris Walters, Facebook's New Terms Of Service: "We Can Do Anything We Want With Your Content. Forever."
The Consumerist, Feb. 15, 2009, available at http://consumerist.com/2009/02/facebooks-new-terms-of-service-we-
can-do-anything-we-want-with-your-content-forever.html#reset.
87
   Id.
88
   JR Raphael, Facebook's Privacy Flap: What Really Went Down, and What's Next, PC World, Feb. 18, 2009,
http://www.pcworld.com/article/159743/facebooks_privacy_flap_what_really_went_down_and_whats_next.html.
89
   Facebook, Facebook Asks More Than 350 Million Users Around the World To Personalize Their Privacy (Dec. 9,
2009), available at http://www.facebook.com/press/releases.php?p=133917.
90
   Facebook, Privacy Policy, http://www.facebook.com/policy.php (last visited Dec. 16, 2009).
91
   Id.


COMPLAINT                                                                  In the Matter of Facebook, Inc.
May 5, 2010                                          30
       Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 32 of 39




     131.    EPIC and a broad coalition of organizations filed a complaint with the FTC in
             December 2009 regarding these changes.

     132.    Millions of users joined online groups and campaigns challenging Facebook’s
             changes.

                                                 V. Legal Analysis

                                      A. The FTC’s Section 5 Authority

     133.    Facebook is engaging in unfair and deceptive acts and practices.92 Such practices are
             prohibited by the FTC Act, and the Commission is empowered to enforce the Act’s
             prohibitions.93 These powers are described in FTC Policy Statements on Deception94
             and Unfairness.95

     134.    A trade practice is unfair if it “causes or is likely to cause substantial injury to
             consumers which is not reasonably avoidable by consumers themselves and not
             outweighed by countervailing benefits to consumers or to competition.”96

     135.    The injury must be “substantial.”97 Typically, this involves monetary harm, but may
             also include “unwarranted health and safety risks.”98 Emotional harm and other “more
             subjective types of harm” generally do not make a practice unfair.99 Secondly, the
             injury “must not be outweighed by an offsetting consumer or competitive benefit that
             the sales practice also produces.”100 Thus the FTC will not find a practice unfair

92
   See 15 U.S.C. § 45.
93
   Id.
94
   Fed. Trade Comm’n, FTC Policy Statement on Deception (1983), available at
http://www.ftc.gov/bcp/policystmt/ad-decept.htm [hereinafter FTC Deception Policy].
95
   Fed. Trade Comm’n, FTC Policy Statement on Unfairness (1980), available at
http://www.ftc.gov/bcp/policystmt/ad-unfair.htm [hereinafter FTC Unfairness Policy].
96
   15 U.S.C. § 45(n); see, e.g., Fed. Trade Comm’n v. Seismic Entertainment Productions, Inc., Civ. No. 1:04-CV-
00377 (Nov. 21, 2006) (finding that unauthorized changes to users’ computers that affected the functionality of the
computers as a result of Seismic’s anti-spyware software constituted a “substantial injury without countervailing
benefits.”).
97
   FTC Unfairness Policy, supra note 113.
98
   Id.; see, e.g., Fed. Trade Comm’n v. Information Search, Inc., Civ. No. 1:06-cv-01099 (Mar. 9, 2007) (“The
invasion of privacy and security resulting from obtaining and selling confidential customer phone records without
the consumers’ authorization causes substantial harm to consumers and the public, including, but not limited to,
endangering the health and safety of consumers.”).
99
   FTC Unfairness Policy, supra note 113.
100
    Id.


COMPLAINT                                                                      In the Matter of Facebook, Inc.
May 5, 2010                                             31
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 33 of 39




             “unless it is injurious in its net effects.”101 Finally, “the injury must be one which
             consumers could not reasonably have avoided.”102 This factor is an effort to ensure
             that consumer decision making still governs the market by limiting the FTC to act in
             situations where seller behavior “unreasonably creates or takes advantage of an
             obstacle to the free exercise of consumer decisionmaking.”103 Sellers may not
             withhold from consumers important price or performance information, engage in
             coercion, or unduly influence highly susceptible classes of consumers.104

      136.   The FTC will also look at “whether the conduct violates public policy as it has been
             established by statute, common law, industry practice, or otherwise.”105 Public policy
             is used to “test the validity and strength of the evidence of consumer injury, or, less
             often, it may be cited for a dispositive legislative or judicial determination that such
             injury is present.”106

      137.   The FTC will make a finding of deception if there has been a “representation,
             omission or practice that is likely to mislead the consumer acting reasonably in the
             circumstances, to the consumer’s detriment.”107

      138.   First, there must be a representation, omission, or practice that is likely to mislead the
             consumer.108 The relevant inquiry for this factor is not whether the act or practice
             actually misled the consumer, but rather whether it is likely to mislead.109 Second, the
             act or practice must be considered from the perspective of a reasonable consumer.110
             “The test is whether the consumer’s interpretation or reaction is reasonable.”111 The
             FTC will look at the totality of the act or practice and ask questions such as “how
             clear is the representation? How conspicuous is any qualifying information? How
             important is the omitted information? Do other sources for the omitted information
             exist? How familiar is the public with the product or service?”112

101
    Id.
102
    Id.
103
    Id.
104
    Id.
105
    Id.
106
    Id.
107
    FTC Deception Policy, supra note 112.
108
    FTC Deception Policy, supra note 112; see, e.g., Fed Trade Comm’n v. Pantron I Corp., 33 F.3d 1088 (9th Cir.
1994) (holding that Pantron’s representation to consumers that a product was effective at reducing hair loss was
materially misleading, because according to studies, the success of the product could only be attributed to a placebo
effect, rather than on scientific grounds).
109
    FTC Deception Policy, supra note 112.
110
    Id.
111
    Id.
112
    Id.


COMPLAINT                                                                       In the Matter of Facebook, Inc.
May 5, 2010                                              32
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 34 of 39




      139.   Finally, the representation, omission, or practice must be material.113 Essentially, the
             information must be important to consumers. The relevant question is whether
             consumers would have chosen another product if the deception had not occurred.114
             Express claims will be presumed material.115 Materiality is presumed for claims and
             omissions involving “health, safety, or other areas with which the reasonable
             consumer would be concerned.”116 The harms of this social networking site’s
             practices are within the scope of the FTC’s authority to enforce Section 5 of the FTC
             Act and its purveyors should face FTC action for these violations.

       B. Material Changes to Privacy Practices and Misrepresentations of Privacy Policies
                                  Constitute Consumer Harm

      140.   Facebook’s actions injure users throughout the United States by invading their
             privacy; allowing for disclosure and use of information in ways and for purposes
             other than those consented to or relied upon by such users; causing them to believe
             falsely that they have full control over the use of their information; and undermining
             the ability of users to avail themselves of the privacy protections promised by the
             company.

      141.   The FTC Act empowers and directs the FTC to investigate business practices,
             including data collection practices that constitute consumer harm.117 The Commission
             realizes the importance of transparency and clarity in privacy policies. “Without real
             transparency, consumers cannot make informed decisions about how to share their
             information.”118

      142.   In 2002, the FTC settled a privacy enforcement action against Microsoft for
             violations associated with the Microsoft Passport identification and authentication
             system that collected users’ personal information in connection with making
             purchases.119 The settlement arose from the company’s false representations about
             how personal information was protected, the security of making purchases through
             the Passport system, not collecting any personally identifiable information other than
             that described in the privacy policy, and that parents had control over what
113
    Id.
114
    Id.
115
    Id.
116
    Id.
117
    15 U.S.C. § 45.
118
    Remarks of David C. Vladeck, Director, FTC Bureau of Consumer Protection, New York University: “Promoting
Consumer Privacy: Accountability and Transparency in the Modern World” (Oct. 2, 2009).
119
    In re Microsoft Corp., No C-4069 (2002) (decision and order), available at
http://www.ftc.gov/os/caselist/0123240/microsoftdecision.pdf.


COMPLAINT                                                                 In the Matter of Facebook, Inc.
May 5, 2010                                          33
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 35 of 39




             information participating websites could collect for their children.120 The agreement
             requires that Microsoft establish a comprehensive information security program for
             Passport, and that it must not misrepresent its practices of information collection and
             usage.121

      143.   The FTC recently found that Sears Holding Management Corporations business
             practices violated the privacy of its customers.122 The consent order arose from the
             company’s use of software to collect and disclose users’ online activity to third
             parties, and a misleading privacy policy that did not “adequately [inform consumers
             as to] the full extent of the information the software tracked.”123 The order requires
             that the company fully, clearly, and prominently disclose the “types of data the
             software will monitor, record, or transmit.”124 Further, the company must disclose to
             consumers whether and how this information will be used by third parties.125

      144.   The Commission has also obtained a consent order against an online company for
             changing its privacy policy in an unfair and deceptive manner. In 2004, the FTC
             charged Gateway Learning Corporation with making a material change to its privacy
             policy, allowing the company to share users’ information with third parties, without
             first obtaining users’ consent.126 This was the first enforcement action to “challenge
             deceptive and unfair practices in connection with a company’s material change to its
             privacy policy.”127 Gateway Learning made representations on the site’s privacy
             policy, stating that consumer information would not be sold, rented or loaned to third
             parties.128 In violation of these terms, the company began renting personal
             information provided by consumers, including gender, age and name, to third
             parties.129 Gateway then revised its privacy policy to provide for the renting of

120
    In re Microsoft Corp., No. C-4069 (2002) (complaint), available at
http://www.ftc.gov/os/caselist/0123240/microsoftcmp.pdf.
121
    In re Microsoft Corp., No. 012 3240 (2002) (agreement containing consent order), available at
http://www.ftc.gov/os/caselist/0123240/microsoftagree.pdf.
122
    In re Sears Holdings Mgmt. Corp., No. C-4264 (2009) (decision and order), available at
http://www.ftc.gov/os/caselist/0823099/090604searsdo.pdf.
123
    In re Sears Holdings Mgmt. Corp., No. C-4264 (2009) (complaint), available at
http://www.ftc.gov/os/caselist/0823099/090604searscmpt.pdf (last visited Sep. 25, 2009).
124
    In re Sears Holdings Mgmt. Corp., No. C-4264 (2009) (decision and order), available at
http://www.ftc.gov/os/caselist/0823099/090604searsdo.pdf.
125
    Id.
126
    Press Release, FTC, Gateway Learning Settles FTC Privacy Charges (July 7, 2004),
http://www.ftc.gov/opa/2004/07/gateway.shtm.
127
    Id.
128
    In re Gateway Learning Corp., No. C-4120 (2004) (complaint), available at
http://www.ftc.gov/os/caselist/0423047/040917comp0423047.pdf.
129
    Id.


COMPLAINT                                                                     In the Matter of Facebook, Inc.
May 5, 2010                                             34
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 36 of 39




             consumer information “from time to time,” applying the policy retroactively.130 The
             settlement bars Gateway Learning from, among other things, “misrepresent[ing] in
             any manner, expressly or by implication . . . the manner in which Respondent will
             collect, use, or disclose personal information.”131

      145.   Furthermore, the FTC has barred deceptive claims about privacy and security policies
             with respect to personally identifiable, or sensitive, information.132 In 2008, the FTC
             issued an order prohibiting Life is Good, Inc. from “misrepresent[ing] in any manner,
             expressly or by implication, the extent to which respondents maintain and protect the
             privacy, confidentiality, or integrity of any personal information collected from or
             about consumers.”133 The company had represented to its customers, “we are
             committed to maintaining our customers’ privacy,” when in fact, it did not have
             secure or adequate measures of protecting personal information.134 The Commission
             further ordered the company to establish comprehensive privacy protection measures
             in relation to its customers’ sensitive information.135

      146.   The FTC has undertaken significant enforcement actions against companies that place
             at risk the personal information of American consumers. In March 2010, the FTC
             obtained one of its largest settlements on record, $11 million, against LifeLock,
             Inc.136 The FTC found that LifeLock had used false claims to promote its identity
             theft protection services, which it widely advertised by displaying the CEO’s Social
             Security number on the side of a truck. Since 2006, LifeLock’s ads claimed that it
             could prevent identity theft for consumers willing to sign up for its $10-a-month
             service.137 FTC’s complaint charged that the fraud alerts that LifeLock placed on
             customers’ credit files protected only against certain forms of identity theft and gave
             them no protection against the misuse of existing accounts, the most common type of
             identity theft.138 It also provided no protection against medical identity theft or
             employment identity theft, in which thieves use personal information to get medical
             care or apply for jobs.139 And even for types of identity theft for which fraud alerts

130
    Id.
131
    In re Gateway Learning Corp., No. C-4120 (2004) (decision and order), available at
http://www.ftc.gov/os/caselist/0423047/040917do0423047.pdf.
132
    In re Life is Good, No. C-4218 (2008) (decision and order), available at
http://www.ftc.gov/os/caselist/0723046/080418do.pdf.
133
    Id.
134
    Id.
135
    Id.
136
    FTC, LifeLock Will Pay $12 Million to Settle Charges by the FTC, March 9, 2010,
http://www.ftc.gov/opa/2010/03/lifelock.shtm.
137
    Id.
138
    Id.
139
    Id.


COMPLAINT                                                                     In the Matter of Facebook, Inc.
May 5, 2010                                             35
        Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 37 of 39




             are most effective, they did not provide absolute protection. In addition to its
             deceptive identity theft protection claims, LifeLock allegedly made claims about its
             own data security that were not true.140 According to the FTC, LifeLock routinely
             collected sensitive information from its customers, including their social security
             numbers and credit card numbers.141 The FTC charged that LifeLock’s data was not
             encrypted, and sensitive consumer information was not shared only on a “need to
             know” basis.142 In fact, the agency charged, the company’s data system was
             vulnerable and could have been exploited by those seeking access to customer
             information.143

                          C. Facebook’s Revisions to the Privacy Settings
                         Constitute an Unfair and Deceptive Trade Practice

      147.   Just last year, Facebook stated that users “may not want everyone in the world to have
             the information you share on Facebook,” and that users “have extensive and precise
             controls available to choose who sees what among their network and friends, as well
             as tools that give them the choice to make a limited set of information available to
             search engines and other outside entities.”144

      148.   Facebook’s changes to users’ privacy settings and associated policies in fact
             designate users’ names, profile photos, lists of friends, pages, gender, geographic
             regions, and networks to which they belong as “publically available information.”145
             Those categories of user data are no longer subject to users’ privacy settings.

      149.   Facebook has essentially forced many Facebook users to reveal personal profile
             information that they did not intend to make public. This information includes music,
             film and literary preferences; geographic information; educational information; and
             employment information.

      150.   Facebook’s disclosure of user information through the recent changes in business
             practices violate user expectations and are contrary to representations that Facebook
             has repeatedly made about privacy protection and users control of personal
             information.
140
    Id.
141
    Id.
142
    Id.
143
    Id.
144
    Testimony of Chris Kelly, Chief Privacy Officer, Facebook, Before the U.S. House or Representatives
Committee on Energy and Commerce Subcommittee on Commerce, Trade, and Consumer Protection Subcommittee
on Communications, Technology and the Internet (June 18, 2009), available at
http://energycommerce.house.gov/Press_111/20090618/testimony_kelly.pdf.
145
    Facebook, Privacy Policy, http://www.facebook.com/policy.php (last visited Dec. 13, 2009).


COMPLAINT                                                             In the Matter of Facebook, Inc.
May 5, 2010                                       36
    Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 38 of 39




  151.   Facebook’s opt-out for “instant personalization” is difficult for users to find, unduly
         complicated, and deceptive. There is no way for users to opt-out with one click.
         Instead, users must go to each separate application in what will be a universe of ever-
         expanding applications, and opt-out from each individually. Not only does such an
         approach fail to scale, it is clearly intended to discourage users from exercising
         privacy controls.

  152.   Facebook’s representations regarding its changes to users’ privacy settings and
         associated policies are misleading and fail to provide users clear and necessary
         privacy protections.

  153.   Absent injunctive relief by the Commission, Facebook is likely to continue its unfair
         and deceptive business practices and harm the public interest, as evidence by the
         company’s repeated changes to its privacy policy and aggressive efforts to make more
         user data “publicly available.”

  154.   Absent injunctive relief by the Commission, the privacy safeguards for consumers
         engaging in online commerce and new social network services will be significantly
         diminished.

                              V. Prayer for Investigation and Relief

  155.   Petitioners request that the Commission investigate Facebook, enjoin its unfair and
         deceptive business practices, and require Facebook to protect the privacy of Facebook
         users. Specifically, Petitioners ask the Commission to:

              Compel Facebook to restore its previous privacy settings allowing users to choose
              whether to link and publicly disclose personal information, including name,
              current city, friends, employment information, educational information, and
              music, film, television, and literature preferences;

              Compel Facebook to restore its previous requirement that developers retain user
              information for no more than 24 hours;

              Compel Facebook to make its data collection practices clearer and more
              comprehensible and to give Facebook users meaningful control over personal
              information provided by Facebook to advertisers and developers; and

              Provide such other relief as the Commission finds necessary and appropriate.




COMPLAINT                                                        In the Matter of Facebook, Inc.
May 5, 2010                                   37
     Case 5:12-md-02314-EJD Document 93-28 Filed 12/01/15 Page 39 of 39




   156.   Petitioners reserve the right to supplement this petition as other information relevant
          to this proceeding becomes available.

                                                    Respectfully Submitted,


                                                    Marc Rotenberg, EPIC Executive Director
                                                    John Verdi, EPIC Senior Counsel
                                                    Ginger McCall, EPIC Staff Counsel
                                                    Veronica Louie, EPIC Clerk

                                                    ELECTRONIC PRIVACY
                                                    INFORMATION CENTER
                                                    1718 Connecticut Ave. NW
                                                    Suite 200
                                                    Washington, DC 20009
                                                    202-483-1140 (tel)
                                                    202-483-1248 (fax)

                                                    The Bill of Rights Defense Committee
                                                    The Center for Digital Democracy
                                                    The Center for Financial Privacy and
                                                            Human Rights
                                                    The Center for Media and Democracy
                                                    Consumer Federation of America
                                                    Consumer Task Force for Automotive Issues
                                                    Consumer Watchdog
                                                    Foolproof Initiative
                                                    Patient Privacy Rights
                                                    Privacy Activism
                                                    Privacy Journal
                                                    Privacy Rights Clearinghouse
                                                    The United States Bill of Rights Foundation
                                                    U.S. PIRG

May 5, 2010




COMPLAINT                                                         In the Matter of Facebook, Inc.
May 5, 2010                                    38
